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 5
     Attorneys for Plaintiff
 6
                                 UNITED STATES DISTRICT COURT
 7
 8                            CENTRAL DISTRICT OF CALIFORNIA

 9   THERESA BROOKE, a married woman
     dealing with her sole and separate claim,      Case No:
10
11                           Plaintiff,             VERIFIED COMPLAINT
12   vs.                                            (JURY TRIAL DEMANDED)
13
     WDB CORPORATION, a California
14   corporation,
15
                             Defendant.
16
            Plaintiff alleges:
17
                                              PARTIES
18
            1.      Plaintiff Theresa Brooke is a married woman. Plaintiff is legally disabled,
19
     and is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2),
20
     the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the
21
     California Unruh Civil Rights Act. Plaintiff ambulates with the aid of a wheelchair due
22
     to the loss of a leg.
23
            2.      Defendant, WDB Corporation, owns and/or operates and does business as
24
     the hotel Fullerton Inn located at 2601 West Orangethorpe Avenue, Fullerton,
25
     California 92833. Defendant’s hotel is a public accommodation pursuant to 42 U.S.C. §
26
     12181(7)(A), which offers public lodging services. On information and belief,
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     Defendant’s hotel was built or renovated after March 15, 2012.
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 1                                          JURISDICTION
 2          3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
 3   U.S.C. § 12188.
 4          4.     Plaintiff’s claims asserted herein arose in this judicial district and
 5   Defendant does substantial business in this judicial district.
 6          5.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
 7   in that this is the judicial district in which a substantial part of the acts and omissions
 8   giving rise to the claims occurred.
 9          6.     Pursuant to Arroyo v. Rosas, supplemental jurisdiction is appropriate over
10   Plaintiff’s Unruh claim. On a case-specific analysis, there are no compelling reasons to
11   decline jurisdiction.
12                                          ALLEGATIONS
13          7.     Plaintiff alleges that Defendant’s hotel does not have a compliant access
14   aisle at the passenger loading zone adjacent to the hotel lobby in violation of Sections
15   209 and 503 of the 2010 Standards. An access aisle has specific requirements to be
16   compliant with the Standards: It must be (1) 60 inches wide and at least 20 feet long, (2)
17   it must have an accessible route adjoining it, and (3) it cannot be within a vehicular
18   way. Section 503.3.
19          8.     The requirement for an access aisle at a passenger loading zone is
20   immensely important for a person in a wheelchair such as Plaintiff, as it provides safe
21   access to the entry of the hotel and deters others from placing encumbrances or
22   obstacles there such as a vehicle parking. An access aisle is akin to a cross-walk for
23   pedestrians. Absence of an access aisle where required creates dangerous conditions for
24   a person in a wheelchair such as Plaintiff.
25          9.     Plaintiff formerly worked in the hospitality industry. She is an avid
26   traveler across California for purposes of leisure travel and to “test” whether various
27   hotels comply with disability access laws, doing so at least once per month. Testing is
28   encouraged by the Ninth Circuit.


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 1           10.   In late March 2024, Plaintiff personally visited Defendant’s hotel, which
 2   has a passenger loading zone. Defendant’s hotel has a passenger loading zone because
 3   pickup and dropoff occurs there and it is located directly outside of the lobby entrance.
 4   There are also design features showing an intent for utilization as a passenger loading
 5   zone. According to the U.S. Access Board Technical Guidelines on Passenger Loading
 6   Zones, “many hotel entrances” have the design features indicating an intent to utilize as
 7   PLZs.
 8           11.   While at Defendant’s hotel, she discovered that Defendant’s hotel has a
 9   barrier to entry to the lobby, which is that the passenger loading zone does not have an
10   access aisle compliant with Section 503.3. It is an absolute requirement to have an
11   access aisle at a passenger loading zone pursuant to Sections 209 and 503. The
12   requirement of an access aisle at a passenger loading zone relates to Plaintiff’s
13   disability of not having one leg and being forced to use a wheelchair because access
14   aisles are required so persons in a wheelchair can maneuver without threat of danger
15   from other vehicles and without other encumbrances obstructing their pathway. The
16   lobby, therefore, is inaccessible to Plaintiff by way of the passenger loading zone
17   because there is no access aisle.
18           12.   Plaintiff gained actual and personal knowledge of a barrier while visiting
19   Defendant’s hotel (no access aisle at passenger loading zone), and as a result, she was
20   deterred from entering the hotel both from the barrier and due to the lack of equality.
21           13.   Plaintiff has certain plans of returning and staying at the Hotel in
22   September 2024 during one of her many trips across California and especially the Los
23   Angeles and Orange County areas, but if she arrives then and Defendant has not
24   remediated, she will remain deterred and will not enter the Hotel.
25           14.   It is readily achievable and inexpensive to modify the hotel to provide an
26   access aisle, which involves painting and measuring tools.
27           15.   Without injunctive relief, Plaintiff and others will continue to be unable to
28   independently use Defendant’s hotel in violation of her rights under the ADA.


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 1                                     FIRST CAUSE OF ACTION
 2          16.      Plaintiff incorporates all allegations heretofore set forth.
 3          17.      Defendant has discriminated against Plaintiff and others in that it has
 4   failed to make its public lodging services fully accessible to, and independently usable
 5   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §
 6   121282(b)(2)(iv) and the 2010 Standards, as described above.
 7          18.      Defendant has discriminated against Plaintiff in that it has failed to
 8   remove architectural barriers to make its lodging services fully accessible to, and
 9   independently usable by individuals who are disabled in violation of 42 U.S.C.
10   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
11   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
12   services nor result in an undue burden to Defendant.
13          19.      In violation of the 2010 Standards, Defendant’s hotel passenger loading
14   zone does not have a disability access aisle compliant with Section 503.3 of the
15   Standards.
16          20.      Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
17   as described above, is readily achievable by the Defendant. Id. Readily achievable
18   means that providing access is easily accomplishable without significant difficulty or
19   expense.
20          21.      Defendant’s conduct is ongoing, and Plaintiff invokes her statutory right
21   to declaratory and injunctive relief, as well as costs and attorneys’ fees.
22          22.      Without the requested injunctive relief, Defendant’s non-compliance with
23   the ADA’s requirements that its passenger loading zone be fully accessible to, and
24   independently useable by, disabled people is likely to recur.
25          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
26                a. DECLARATORY Judgment that at the commencement of this action
27                   Defendant was in violation of the specific requirements of Title III of the
                     ADA described above, and the relevant implementing regulations of the
28                   ADA;


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                  b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
 2                   36.504(a) which directs Defendant to take all steps necessary to bring its
 3                   passenger loading zone into full compliance with the requirements set
                     forth in the ADA;
 4
 5                c. Payment of costs and attorney’s fees;

 6                d. Provision of whatever other relief the Court deems just, equitable and
                     appropriate.
 7
 8                                    SECOND CAUSE OF ACTION

 9          23.      Plaintiff realleges all allegations heretofore set forth.
10          24.      Defendant has violated the Unruh by denying Plaintiff equal access to its
11   public accommodation on the basis of her disability as outlined above.
12          25.      Unruh provides for declaratory and monetary relief to “aggrieved
13   persons” who suffer from discrimination on the basis of their disability.
14          26.      Plaintiff has been damaged by the Defendant’s non-compliance with
15   Unruh.
16          27.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
17   relief as the Court considers appropriate, including monetary damages in an amount of
18   $4,000.00, and not more.
19          28.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
20   amount to be proven at trial.
21          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
22                a. Declaratory Judgment that at the commencement of this action Defendant
                     was in violation of the specific requirements of Unruh; and
23
24                b. Permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                     36.504(a) which directs Defendant to take all steps necessary to bring its
25                   passenger loading zone into full compliance with the requirements set
26                   forth in the ADA;

27                c. Payment of costs and attorney’s fees;
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                  d. Damages in the amount of $4,000.00; and

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            e. Provision of whatever other relief the Court deems just, equitable and
 2             appropriate.
 3                             DEMAND FOR JURY TRIAL

 4       Plaintiff hereby demands a jury trial on issues triable by a jury.

 5
 6       RESPECTFULLY SUBMITTED this 31st day of March, 2024.

 7                                           /s/ P. Kristofer Strojnik
 8                                           P. Kristofer Strojnik (242728)
                                             Attorneys for Plaintiff
 9
                                        VERIFICATION
10
11       I declare under penalty of perjury that the foregoing is true and correct.

12                     DATED this 31st day of March, 2024.
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16              ______________________
17              Theresa Marie Brooke

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